                    Case 20-30781            Doc 1       Filed 08/25/20 Entered 08/25/20 19:54:21                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                United Canvas & Sling, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA UCS, Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  511 Hoffman Road                                                PO Box 657
                                  Lincolnton, NC 28092                                            Lincolnton, NC 28093
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Gaston                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       ucsspirit.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    United Canvas & Sling, Inc.                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3399

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                 Relationship
                                                  District                                When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   United Canvas & Sling, Inc.                                                               Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    United Canvas & Sling, Inc.                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 25, 2020
                                                  MM / DD / YYYY


                             X   /s/ John Fioretti                                                        John Fioretti
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Representative for Receiver




18. Signature of attorney    X   /s/ Andrew T. Houston                                                     Date August 25, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Andrew T. Houston 36208
                                 Printed name

                                 Moon Wright & Houston, PLLC
                                 Firm name

                                 121 West Trade Street
                                 Suite 1950
                                 Charlotte, NC 28202
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     704-944-6560                  Email address      ahouston@mwhattorneys.com

                                 36208 NC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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Debtor     United Canvas & Sling, Inc.                                                      Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                   Chapter      11
                                                                                                                         Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                     Pending Bankruptcy Cases Attachment



Debtor     Rounders Pit Foam, LLC                                                  Relationship to you               Affiliate
District                                              When                         Case number, if known
Debtor     Schwartz Family Properties North Carolina, LLC                          Relationship to you               Affiliate
District                                              When                         Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 5
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                                     CORPORATE RESOLUTION

       We, the undersigned, being the Receiver and court-appointed management of United
Canvas & Sling, Inc. a corporation organized under the laws of the State of North Carolina (the
“Company”) having a corporate headquarters located at 511 Hoffman Road, Lincolnton. North
Carolina 28092 do hereby adopt the following resolutions by signing below to consent to action
without holding a formal meeting of the Company:

         RESOLVED, that the filing by the Company of a petition for relief under chapter 11 of
title 11, United States Code (the “Bankruptcy Code”), in the United States Bankruptcy Court for
the Western District of North Carolina is approved; and it is

       FURTHER RESOLVED, that the Receiver of the Company is authorized, empowered,
and directed to execute on behalf of the Company a petition for relief under chapter 11 of the
Bankruptcy Code in the United States Bankruptcy Court for the Western District of North
Carolina, and any affidavits, forms, schedules, application or any other pleadings or documents
which are necessary or appropriate, including debtor-in-possession financing arrangements; and
it is

       FURTHER RESOLVED, that the retention on behalf of the Company of the law firm of
Moon Wright & Houston, PLLC, upon such terms and conditions as the Receiver of the
Company shall approve, to render legal services to, and to represent the Company in connection
with such chapter 11 proceedings and other related matters in connection therewith, is authorized
and approved; and it is

        FURTHER RESOLVED, that the retention of ABTV Receivership Services, LLC
(“ABTVRS”), as the Independent Manager with the sole authority to represent the Company in
connection with such chapter 11 proceedings and other related matters in connection therewith,
is authorized and approved; and it is

        FURTHER RESOLVED, that ABTVRS is authorized to retain on behalf of the Company
such other professionals as it deems necessary or appropriate, upon such terms and conditions as
it shall approve, to render services to the Company in connection with such chapter 11
proceedings and with respect to other related matters in connection therewith; and it is

       FURTHER RESOLVED, that ABTVRS is authorized, empowered, and directed to take
any and all further action and to execute and deliver any and all such further instruments and
documents and to pay all such expenses (subject to bankruptcy court approval), where necessary
or appropriate in order to carry out fully the intent and accomplish the purposes of the resolutions
adopted herein; and it is

        FURTHER RESOLVED, that all actions taken by ABTVRS prior to the date hereof in
connection with the reorganization of the Company or any matter related thereto, or by virtue of
these resolutions, are hereby in all respects ratified, confirmed, and approved.


                       [SIGNATURES APPEAR ON THE FOLLOWING PAGE]




MWH: 10680.001; 00023420.2
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 Fill in this information to identify the case:

 Debtor name         United Canvas & Sling, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          August 25, 2020                         X /s/ John Fioretti
                                                                       Signature of individual signing on behalf of debtor

                                                                       John Fioretti
                                                                       Printed name

                                                                       Representative for Receiver
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name United Canvas & Sling, Inc.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF NORTH                                                                                    Check if this is an
                                                CAROLINA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 AEGIS LOGISTICS                                                                                                                                                          $45,940.56
 GROUP
 6115 Park South
 Drive
 Suite 110
 Charlotte, NC 28210
 CAPITOL FOAM                                                                                                                                                           $509,797.66
 PRODUCTS
 75 East Union
 Avenue
 East Rutherford, NJ
 07073
 FEDEX                                                                                                                                                                    $48,486.12
 PO Box 371461
 Pittsburg, PA
 15250-7461
 FEDEX FREIGHT                                                                                                                                                            $84,224.60
 PO Box 223125
 Pittsburg, PA
 15250-2125
 HIGHLAND FOAM,                                                                                                                                                         $200,131.84
 INC.
 PO Box 575
 Conover, NC 28613
 INTERNAL                                                                                                                                                               $587,655.00
 REVENUE SERVICE
 PO Box 742562
 Cincinnati, OH
 45280-2562
 JONATHAN                                                                                                                                                                 $42,722.00
 HOWARD
 23 Whalen Court
 West Orange, NJ
 07052




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    United Canvas & Sling, Inc.                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 LUBBOCK                                                                                                                                                                  $62,928.00
 CHRISTIAN
 UNIVERSITY
 5601 19th Street
 Lubbock, TX 79407
 MONTGOMERY                                                                                                                                                               $32,665.00
 BELL ACADEMY
 4001 HARDING
 ROAD
 NASHVILLE, TN
 37205
 NAVIKE LLC                                                                                                                                                             $104,600.00
 2900 CHANTILLY
 AVE
 Kissimlee, FL 34241
 NC DEPT OF                                                                                                                                                             $163,733.31
 REVENUE
 PO Box 25000
 Raleigh, NC 27640
 PENNEX ALUMINUM                                                                                                                                                          $46,894.51
 COMPANY
 50 Community
 Street
 Wellsville, PA 17365
 PLAYTECK                                                                                                                                                                 $79,965.00
 ENTERPRISES
 3115 PRINCIPAL
 AVENUE WEST
 DIEPPE, NB E1A
 0X7, Canada
 SAIA                                                                                                                                                                     $31,288.91
 PO Box 730532
 Dallas, TX
 75373-0532
 SEATTLE TEXTILES                                                                                                                                                         $47,235.90
 3434 2nd Ave, South
 Seattle, WA 98134
 STATE OF                                                                                                                                                               $109,115.00
 CALIFORNIA
 PO Box 942879
 Sacramento, CA
 94279-0001
 THE CREATIVE                                                                                                                                                             $39,739.71
 GROUP
 12400 Collections
 Center Drive
 Chicago, IL 60693
 UBER FREIGHT LLC                                                                                                                                                         $35,412.00
 PO Box 74007178
 Chicago, IL
 92580-6944



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    United Canvas & Sling, Inc.                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 UNITED                                                                                                                                                                   $50,038.09
 HEALTHCARE
 Dept CH10151
 Palatine, IL
 60055-0154
 VALUE VINYLS                                                                                                                                                             $77,675.75
 301 E Trinity Blvd
 Grand Prairie, TX
 75050




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                 Western District of North Carolina
 In re      United Canvas & Sling, Inc.                                                                               Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Larry Schwartz                                                                       50%
 c/o United Canvas & Sling, Inc.
 511 Hoffman Road
 Lincolnton, NC 28092

 The Estate of Jeffrey Schwartz                                                       50%
 12 Tulip Tree Lane
 Alpine, NJ 07620


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Representative for Receiver of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



 Date August 25, 2020                                                        Signature /s/ John Fioretti
                                                                                            John Fioretti

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                 Western District of North Carolina
 In re      United Canvas & Sling, Inc.                                                                    Case No.
                                                                                  Debtor(s)                Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Representative for Receiver of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




 Date:       August 25, 2020                                           /s/ John Fioretti
                                                                       John Fioretti/Representative for Receiver
                                                                       Signer/Title




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                      3070 State Highway
                      3070 STATE HWY
                      Fort Mill, SC 29708


                      AAA GARAGE DOORS
                      1004 Jonathan Drive
                      Bessemer City, NC 28016


                      AADVANTAGE AVIATOR BUSINESS(3496/9511)(Z
                      PO Box 23066
                      Columbus, GA 31902-3066


                      ABTV RECEIVERSHIP SERVICES LLC
                      6100 Fairview Rd
                      Suite 565
                      Charlotte, NC 28210


                      ACTION PLUS IDEAS
                      5222 Monroe Road
                      Charlotte, NC 28205


                      ADAM SCHWARTZ
                      215 E 68th Street
                      Apt 16K
                      New York, NY 10065


                      AEGIS LOGISTICS GROUP
                      6115 Park South Drive
                      Suite 110
                      Charlotte, NC 28210


                      AIRGAS USA, LLC
                      2433 N Chester St
                      Gastonia, NC 28052


                      ALLIED CASTER & EQUIPMENT CO.
                      PO Box 11583
                      Charlotte, NC 28220


                      ALRO STEEL CORP
                      Dept 771478 PO Box 77000
                      Detroit, MI 48277-1478
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                  ALSTON & BIRD LLP
                  PO Box 933124
                  Atlanta, GA 31193-3124


                  ANAHEIM DUCKS
                  Great Park Ice/ Five Points Arena
                  888 Ridge Valley
                  Irvine, CA 92618


                  APTEAN
                  PO Box 7437222
                  Atlanta, GA 30374-3722


                  AQUESTA BANK
                  19510 Jetton Rd
                  Cornelius, NC 28031


                  ARMOR FIRE SERVICES, LLC
                  1143 Kelly Road
                  Mt. Holly, NC 28120


                  AT&T (831-000-6509-822)
                  PO Box 5014
                  Carol Stream, IL 60197-5014


                  ATLETISMO Y MAS, S.A. DE C.V.
                  Florencia 2865 Lomas De Providencia
                  Guadalajara
                  Jalisco, Mexico 44647-0000


                  AUPTIX, INC
                  DEPT LA 24808
                  Pasadena, CA 91185


                  BALBOA CAPITAL
                  15279 N Scottsdale Rd
                  Suite B245
                  Scottsdale, AZ 85254


                  BARTA TRANSFER PRINT TECHNOLOGY
                  624 Holly Springs Rd
                  Suite 311
                  Holly Springs, NC 27540
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                  BERMUDA NATIONAL ATHLETICS ASSOCIATION
                  48 CEDAR AVENUE
                  PEMBROKE, HM 12, Bermuda


                  BLOCK DIVISION INC
                  PO Box 6115
                  McKinney, TX 75071-6115


                  BLUE GRANITE CLIMBING GYM
                  1071 STOCKTON AVE
                  SOUTH LAKE TAHOE, CA 96150


                  BOSS SAFETY PRODUCTS
                  30061 Comercio, Unit B
                  Rancho Santa Margarita, CA 92688


                  BOULDER ROCK CLUB
                  2829 MAPLETON AVE
                  BOULDER, CO 80301


                  BRUNEI DARUSSALAM ATHLETICS FEDERATION (
                  ROOM NO 4, PEJABAT
                  PERSATUAN-PERSATUAN, SUKAN KEBANGSAAN
                  HASSANAL BOLKIAH BERAKAS, BRUNEI


                  CAPITOL FOAM PRODUCTS
                  75 East Union Avenue
                  East Rutherford, NJ 07073


                  CARIBEX WORLDWIDE
                  PO Box 35668
                  Greensboro, NC 27425-5668


                  CAROMONT OCCUPATIONAL MEDICINE
                  PO Box 1747
                  Gastonia, NC 28053-1747


                  CAVALIER INC
                  PO Box 11171
                  Norfolk, VA 23517


                  CHOICE BRANDS ADHESIVES, LTD
                  666 Redna Terrace
                  Cincinnati, OH 45215
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                  CHRIS LEE
                  1012 4TH AVE SE
                  SIDNEY, MT 59270


                  CLARKE & CO LOGISTICS LLC
                  PO Box 610028
                  Dallas, TX 75261-0028


                  CLELL WADE COACHES DIRECTORY, INC.
                  PO Box 177
                  Cassville, MO 65625


                  CLEVELAND CLINIC CHILDREN'S HOSPITAL
                  2801 MLK DR
                  Cleveland, OH 44104


                  COMMUNITY EYE CARE
                  2359 Perimeter Pointe Pkwy
                  Suite 150
                  Charlotte, NC 28208


                  CRC MACHINE & FABRICATION
                  4375 Dallas Cherryville Hwy
                  Bessemer City, NC 28016


                  CRITICAL TOOL
                  97400 Eagle Way
                  Chicago, IL 60678-9740


                  DELL BUSINESS CREDIT
                  PO Box 5275
                  Carol Stream, IL 60197-5275


                  DELTA DENTAL OF NORTH CAROLINA
                  4242 Six Forks Road
                  Suite 970
                  Raleigh, NC 27609


                  DERO ENTERPRISES, INC.
                  9960 Avenue Plaza
                  Montreal-Nord, Quebec, CA H1H 4L6


                  DIAMOND TOOL
                  2800 Grays Ferry Ave
                  Philadelphia, PA 19146
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                  DIVERSIFIED FOAM INC
                  PO Box 1358
                  Yadkinville, NC 27055


                  DUKE ENERGY (1470070675)
                  PO Box 70516
                  Charlotte, NC 28272-0516


                  DUKE ENERGY (1605906118)
                  PO Box 70516
                  Charlotte, NC 28272-0516


                  DUKE ENERGY (1984647614)
                  PO Box 70516
                  Charlotte, NC 28272-0516


                  DUNLAP INDUSTRIES, INC.
                  9621 Dayton Place
                  Soddy Daisy, TN 37379


                  EARLE M JORGENSEN COMPANY
                  4015 Westinghouse Blvd
                  Charlotte, NC 28273


                  EASTERN METAL SUPPLY, INC.
                  2925 Stewart Creek Blvd
                  Charlotte, NC 28216


                  ECHO GLOBAL LOGISTICS INC
                  22168 Network Place
                  Chicago, IL 60673-1221


                  EXXON MOBIL
                  PO Box 688938
                  Des Moines, IA 50368-8938


                  FABRICATING MACHINERY SALES, INC.
                  PO Box 26117
                  Greenville, SC 29616


                  FEDEX
                  PO Box 371461
                  Pittsburg, PA 15250-7461
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                  FEDEX FREIGHT
                  PO Box 223125
                  Pittsburg, PA 15250-2125


                  FEDEX TRUCKLOAD BROKERAGE/CUSTOM CRITICA
                  PO Box 645123
                  Pittsburg, PA 15264-5123


                  FORWARD BROKERAGE LLC
                  PO Box 310
                  Altoona, PA 16603


                  FRANKFURT KURNIT KLEIN & SELZ PC
                  488 Madison Avenue
                  New York, NY 10022


                  GASTON COUNTY TAX COLLECTOR
                  128 West Main Avenue
                  PO Box 1578
                  Gastonia, NC 28053


                  GENESIS CAPITAL GROUP
                  17551 Gillette Avenue
                  Irvine, CA 92614


                  GLOBALTRANZ
                  PO Box 203285
                  Dallas, TX 75320-3285


                  GSA
                  PO Box 979009
                  St. Louis, MO 63197-9009


                  GYMCO SPORTS LTD
                  7F, NO. 196-2, SEC. 3, TATUNG RD.
                  HSI-CHIH DIST
                  NEW TAIPEI CITY, TAIWAN


                  HALCO USA
                  20269 Mack Street
                  Hayward, CA 94545
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                  HAMILTON STEPHENS STELLE & MARTIN, PLLC
                  201 South College Street
                  Suite 2020
                  Charlotte, NC 28244-2020


                  HIBCO PLASTICS,INC
                  1820 US 601 Hwy
                  PO Box 157
                  Yadkinville, NC 27055


                  HIGHLAND FOAM, INC.
                  PO Box 575
                  Conover, NC 28613


                  HYDRO EXTRUSIONS/SAPA
                  PO Box 3573
                  Carol Stream, IL 60132-3573


                  INDUSTRIAL REPAIR SERVICE,INC
                  2650 Business Drive
                  Cumming, GA 30028


                  INET45 BUSINESS SOLUTIONS
                  7422 Carmel Executive Park
                  Suite 106
                  Charlotte, NC 28226


                  INFINISOURCE
                  15 E Washington Street
                  PO Box 889
                  Coldwater, MI 49036-0889


                  INTERNAL REVENUE SERVICE
                  PO Box 742562
                  Cincinnati, OH 45280-2562


                  JASON SCHWARTZ
                  7029 Garden Terrace Ct
                  Charlote, NC 28210


                  JOHNSON CONTROLS
                  PO Box 371967
                  Pittsburg, PA 15250-7967
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                  JOMA (PROPERTIES) LTD.
                  171 Main St
                  Road Town, Tortola VG
                  , British Virgin Isaln 01110-0000


                  JONATHAN HOWARD
                  23 Whalen Court
                  West Orange, NJ 07052


                  KANSAS STATE UNIVERSITY
                  1800 COLLEGE AVENUE
                  MANHATTAN, KS 66502


                  KEYSTONE MANUFACTURING & SUPPLY CO.
                  4696 Springside Court
                  Allentown, PA 18104


                  KING OF FREIGHT
                  110 S Main Street, Suite 300
                  Wichita, KS 67202


                  KONECRANES
                  PO Box 644994
                  Pittsburg, PA 15264-4994


                  LAIRD PLASTICS
                  6100 Harris Technology Blvd
                  Suite F
                  Charlotte, NC 28269


                  LAWRENCE SCHWARTZ
                  1201 MARLWOOD TERRACE
                  Charlotte, NC 28209


                  LEADING EDGE GYMNASTICS
                  1500 Industry Street
                  STE. 300
                  Everett, WA 98203


                  LEWIS SYSTEM & SERVICE, INC.
                  3702 Boren Drive
                  Greensboro, NC 27407
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                  LF WORLDWIDE TRANSPORT LLC
                  13000 South Tryon St.
                  Suite F-246
                  Charlotte, NC 28278


                  LIBERTY MUTUAL (5-291114-0001)
                  PO Box 1449
                  New York, NY 10116-1449


                  LINCOLN COUNTY FABRICATORS, INC.
                  513 Jason Road
                  Lincolnton, NC 28092


                  LINK COLOR N.A., INC.
                  23C Poplar Street
                  East Rutherford, NJ 07073


                  LIVINGSTON INTERNATIONAL INC
                  6700 Cote De Liesse Bureau 300
                  Montreal, Quebec, CA H4T 2B5


                  LUBBOCK CHRISTIAN UNIVERSITY
                  5601 19th Street
                  Lubbock, TX 79407


                  MAPCARGO GLOBAL LOGISTICS
                  2501 Santa Fe Ave
                  Redondo, CA 90278


                  Mark Knudsen
                  506 Latimer Circle
                  Campbell, CA 95032


                  MARKSTAAR
                  PO Box 6807
                  Scarborough, ME 04070


                  MARLIN BUSINESS BANK
                  PO Box 13604
                  Philadelphia, PA 19101-3604


                  MCGUIREWOODS LLP
                  800 E Canal Street
                  Richmond, VA 23219-3916
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                  MCMASTER-CARR SUPPLY CO.
                  PO Box 7690
                  Chicago, IL 60680-7690


                  MDR
                  PO Box 75174
                  Chicago, IL 60675-5174


                  MICHAEL CHAPPELL
                  935 Pineridge Drive
                  Reno, NV 89509


                  MICHAEL DAVID BLOUNT
                  171 Nathan Ridge Lane
                  Gadsden, SC 29052


                  MIDWEST SPECIALITIES INC/FLEXARM/FLEXCNC
                  705 Commerce Drive
                  Wapakoneta, OH 45895


                  MONTGOMERY BELL ACADEMY
                  4001 HARDING ROAD
                  NASHVILLE, TN 37205


                  MOORE & VAN ALLEN, PLLC
                  PO Box 198743
                  Atlanta, GA 30384-8743


                  MSC
                  PO Box 953635
                  St. Louis, MO 63195-3635


                  MSC/CLASS C SOLUTIONS GROUP
                  PO Box 78845
                  Milwaukee, WI 53278-8845


                  MURRAY CITY SCH DIST
                  5102 Commerce Dr
                  Murray, UT 84107


                  NAVIKE LLC
                  2900 CHANTILLY AVE
                  Kissimlee, FL 34241
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                  NC DEPT OF REVENUE
                  PO Box 25000
                  Raleigh, NC 27640


                  NETFORTRIS ACQUISITION CO., INC
                  Dept 111017
                  PO Box 150498
                  Hartford, CT 06115-0498


                  NEW NEVADA PLASTICS
                  2180 Meridian Blvd
                  Minden, NV 89423


                  OLYMPIC FOREST PRODUCTS
                  2200 Carnegie Avenue
                  Cleveland, OH 44115


                  P3 COST ANALYSTS
                  3589 N Shiloh Drive, Suite 3
                  Boc 44
                  Fayetteville, AR 72703


                  PAIHO NORTH AMERICA
                  16051 El Prado Road
                  Chino, CA 91708


                  PALZIV NORTH AMERICA
                  7966 NC Hwy 56 W
                  Louisburg, NC 27549


                  PENNEX ALUMINUM COMPANY
                  50 Community Street
                  Wellsville, PA 17365


                  PENSKE TRUCK LEASING CO. LP
                  PO Box 532658
                  Atlanta, GA 30353-2658


                  PEOPLE READY
                  PO Box 641034
                  Pittsburg, PA 15264-1034


                  PIEDMONT CORRUGATED SPECIALTY CO?
                  PO Box 68
                  Valdese, NC 28690
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                  PIEDMONT MACHINE & MANUFAACTURING
                  22 Carpenter St, NW
                  Concord, NC 28027


                  PITNEY BOWES GLOBAL FINANCIAL SERVICES L
                  PO Box 371887
                  Pittsburg, PA 15250-7887


                  PLAYTECK ENTERPRISES
                  3115 PRINCIPAL AVENUE WEST
                  DIEPPE, NB E1A 0X7, Canada


                  POTTER & COMPANY, P.A.
                  114 North Church Street
                  Monroe, NC 28112


                  PROFILE CUSTOM EXTRUSIONS, LLC
                  100 Anderson Road SW
                  Rome, GA 30161


                  QUALITY FASTENERS,INC.
                  PO Box 12533
                  Gastonia, NC 28052


                  QYCELL CORPORATION
                  600 South Etiwanda Ave
                  Ontario, CA 91761


                  R & L CARRIERS, INC
                  600 Gillam Road
                  Wilmington, OH 45177-0271


                  R.S. HUGHES
                  1100 Corporation Pkwy
                  Raleigh, NC 27610


                  RANDSTAD NORTH AMERICA INC
                  PO Box 742689
                  Atlanta, GA 30374


                  RED CLASSIC
                  PO Box 602549
                  Charlotte, NC 28260-2549
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                  RELIANCE STANDARD LIFE INSURANCE CO
                  PO Box 3124
                  Southeastern, PA 19398-3124


                  REPUBLIC SERVICES
                  PO Box 9001099
                  Louisville, KY 40290-1099


                  RODECO COMPANY
                  5811 Elwin Buchanan Drive
                  Sanford, NC 27330


                  Rounders Pit Foam LLC
                  511 Hoffman Road
                  Lincolnton, NC 28092


                  SABA ADHESIVES & SEALANTS
                  2737 Wadhams Road
                  Kimball, MI 48074


                  SABIC INNOVATIVE PLASTICS
                  44 Norman Road
                  PO Box 2004
                  Cobourg, Ontario, CA K9A 4L7


                  SAFETY-KLEEN SYSTEMS, INC
                  2600 North Central Expressway
                  Ste 400
                  Richardson, TX 75080


                  SAIA
                  PO Box 730532
                  Dallas, TX 75373-0532


                  SAN DIEGO COMMUNITY COLLEGE DIST
                  3375 Camino Del Rio South
                  San Diego, CA 92108-3883


                  SAN DIEGUITO HIGH SCHOOL
                  800 Santa Fe Dr
                  Encinitas, CA 92024


                  Schwartz Family Properies
                  511 Hoffman Road
                  Lincolnton, NC 28092
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                  SEATTLE TEXTILES
                  3434 2nd Ave, South
                  Seattle, WA 98134


                  SENTRY INSURANCE
                  PO Box 8048
                  Stevens Point, WI 54481-8048


                  SHIELD ENGINEERING
                  4301 Taggart Creek Road
                  Charlotte, NC 28208


                  SHRUM MACHINE WORKS
                  3268 Summerroe Road
                  Lincolnton, NC 28092


                  SOUTHEASTERN FREIGHT LINES
                  PO Box 100104
                  Columbia, SC 29202-3104


                  SOUTHWEST CARGO
                  PO Box 97390
                  Dallas, TX 75397


                  SPANTEK EXPANDED METAL
                  352 N Generals Blvd
                  Lincolnton, NC 28092


                  SPARCON INC.
                  PO Box 160848
                  Boiling Springs, SC 29316


                  SPEED ELITE
                  3121 Heyward Street
                  Columbia, SC 29205


                  ST. CATHERINE ACADEMY
                  760 Tahmor Dr
                  Fairfield, CT 06825


                  STACY DRAGILA
                  1035 North Justin Place
                  Meridian, ID 83646
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                  STAPLES BUSINEES ADVANTAGE
                  PO Box 105638
                  Atlanta, GA 30348-5638


                  STAR EXTRUDED SHAPES INC
                  PO Box 72260
                  Cleveland, OH 44192-2260


                  STATE OF CALIFORNIA
                  PO Box 942879
                  Sacramento, CA 94279-0001


                  SUNWALL INTERNATIONAL LIMITED
                  Flat Q, 5F, Block 4, Kwun Tong Industria
                  436-446 Kwun Tong Road
                  Kowloon, Hong Kong


                  SYARIKAT GERAK MAJU
                  NO. 1411, JALAN STUTONG 20A
                  TABUAN JAYA BARU 2
                  KUCHING, SARAWAK 93350, MALAYSIA


                  TATUM ISD
                  510 Crystal Farms Rd
                  Tatum, TX 75691


                  TCF Equipment Finance
                  PO Box 77077
                  Minneapolis, MN 55480


                  THE CREATIVE GROUP
                  12400 Collections Center Drive
                  Chicago, IL 60693


                  THE HARTFORD
                  PO Box 660916
                  Dallas, TX 75266-0916


                  THE LOCAL GOVERNMENT PURCHASING COOPERAT
                  PO Box 975110
                  Dallas, TX 75397-5110


                  THE STANDARD (00 138995 0001)
                  PO Box 5676
                  Portland, OR 97228-5676
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                  TRIMECH SOLUTIONS LLC
                  4461 Cox Road
                  Glen Allen, VA 23060


                  TRUMPF INC.
                  Dept 135, PO Box 150473
                  Hartford, CT 06115-0473


                  UBER FREIGHT LLC
                  PO Box 74007178
                  Chicago, IL 92580-6944


                  UFP SALISBURY,LLC
                  5631 S NC HWY 62
                  Burlington, NC 27215-9025


                  ULINE
                  PO Box 88741
                  Chicago, IL 60680-1741


                  UNITED HEALTHCARE
                  Dept CH10151
                  Palatine, IL 60055-0154


                  UPS FREIGHT
                  PO Box 650690
                  Dallas, TX 75265-0690


                  USA TEAM HANDBALL
                  1 Olympic Plaza
                  Colorado Springs, CO 80909


                  USTFCCCA
                  1100 Poydras St, Suite 1750
                  New Orleans, LA 70163


                  VALCO/VALLEY TOOL & DIE, INC.
                  10020 York-Theta Drive
                  North Royalton, OH 44133


                  VALUE VINYLS
                  301 E Trinity Blvd
                  Grand Prairie, TX 75050
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                  VERIZON WIRELESS (382574928-00001)
                  PO Box 15062
                  Albany, NY 12212-5062


                  VIRGINIA POLYTECHNIC INSTITUTE AND STATE
                  300 TURNER STREET NW
                  NORTH END CENTER SUITE 3300
                  BLACKSBURG, VA 24061


                  WATER TECH LABS, INC.
                  PO Box 1056
                  Granite Falls, NC 28630


                  WM. C. REYNOLDS CO., INC.
                  PO Box 2068
                  Hickory, NC 28603


                  WOODLAWN SCHOOL
                  PO Box 549
                  Davidson, NC 28036


                  YAFFA LUKASH
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                  Great Neck, NY 11024


                  ZACHARY SCHWARTZ
                  618 Penn St
                  Charlotte, NC 28203
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                                                               United States Bankruptcy Court
                                                                 Western District of North Carolina
 In re      United Canvas & Sling, Inc.                                                                 Case No.
                                                                                 Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for United Canvas & Sling, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 August 25, 2020                                                     /s/ Andrew T. Houston
 Date                                                                Andrew T. Houston 36208
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for United Canvas & Sling, Inc.
                                                                     Moon Wright & Houston, PLLC
                                                                     121 West Trade Street
                                                                     Suite 1950
                                                                     Charlotte, NC 28202
                                                                     704-944-6560 Fax:704-944-0380
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